89 F.3d 831
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Van Prince WELCH, Plaintiff-Appellant,v.Captain FAULK;  M.A. Phillips, Sergeant;  Sergeant Carter;Corporal Bailey;  Officer Mcqueen, Defendants-Appellees,andJ.R. Dewan;  E.G. Tucker, Lieutenant, Defendants.
    No. 96-6074.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 30, 1996.Decided June 11, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   J. Calvitt Clarke, Jr., Senior District Judge.  (CA-94-991-2)
      Van Prince Welch, Appellant Pro Se.  Jeff Wayne Rosen, David Ian Tenzer, ADLER, ROSEN &amp; PETERS, P.C., Virginia Beach, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, WILKINS, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Welch v. Faulk, No. CA-94-991-2 (E.D.Va. Dec. 19, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    